          Case 3:18-cr-00088-RAR Document 1 Filed 04/27/18 Page 1 of 1



                             I-JNITED STATES DISTRICT COURT
                                 DISTRICT     OF        T

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                                                           VIOLATIONS:
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                                                                  ÛOURT
                                                      'ì,1irt         99922(m) and,924(a)(3)(B)
                                                           (Failure to Maintain Firearms Records)
 SAAR CORPORATION
                                         INFORMATION

        The United States Attorney charges:

                                           COLINT ONE
                              (Failure to Maintain Firearms Records)

        On or about November 2, 2015, and for some time prior thereto, in the District of

Corurecticut, defendant SAAR Corporation,        a licensed manufacturer of firearms within         the

meaning of Chapter 44,Title 18, United States Code, knowingly failed to maintain records SAAR

Corporation was required to keep pursuant to Title 18, United States Code, Section 923(gX1XA),

by failing to keep complete and accurate written entries in its acquisition and disposition records,

of   firearm frames and receivers manufactured, acquired and sold/transferred            by   SAAR

Corporation, which frames and receivers are precision-machined firearm components incapable of

discharging a round in and of themselves, but are deemed firearms within the meaning of Title 18,

United States Code, Section 921(a)(3)(B).

        In violation of Title 18, United States Code, Sections 922(m) and924(a)(3xB).

          STATES


       H.D


PA      STOLFI CO
ASSISTANT LINITED STATES ATTORNEY
